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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION

This document relates to:

   Saint Elizabeth Medical Center, Inc., et
   al., v. AmerisourceBergen Drug Corp., et
                                              MDL 2804
   al., 18-op-46046; Baptist Healthcare
   System, Inc., et al., v. Amerisource
                                              Case No. 17-md-2804
   Bergen, et al., 18-op-46058; West Boca
   Medical Center, Inc., v.
                                              Hon. Dan Aaron Polster
   AmerisourceBergen Drug Corp, et al., 18-
   op-45530; Southwest Mississippi Regional
   Medical Center, et al., v.
   AmerisouceBergen Drug Corp., et al., 17-
   op-45175; St. Vincent Charity Medical
   Center v. AmerisourceBergen Drug Corp.,
   18-op-45610.


         BRIEF OF HOSPITAL PLAINTIFFS IN RESPONSE TO
  DEFENDANTS’ BRIEFING ON VIABILITY OF PUBLIC NUISANCE CLAIMS
                         NATIONWIDE
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                                        INTRODUCTION

       The Court has directed the parties to “submit briefing addressing the viability of statutory

and/or common law claims for public nuisance where any MDL plaintiff is located.” Doc. No.

1218 at 2. In response to issues raised by Defendants in their briefing (Doc. No. 1404), the

Hospital Plaintiffs respectfully submit this brief addressing the viability of their nuisance claims.

As discussed more fully below, the Hospitals’ nuisance claims may proceed for three reasons: 1)

the Hospitals have suffered an injury different from the public at large; 2) the manufacturing of

opium has historically been found to be a public nuisance; and 3) the Hospitals’ injuries are a

direct result of Defendants’ unlawful conduct.

I.     Hospital Plaintiffs May Bring a Public Nuisance Claim Because They Suffered a
       “Special Injury” That Was “Different In Kind” From That Suffered by the Public At
       Large.

       A private party can recover for damages caused by a public nuisance where the plaintiff

can demonstrate a “special injury,” unique to the plaintiff, that is “different in kind” from the

injury experienced by the public at large as a result of the nuisance. This is the law of each of

the 50 states. See Exhibit 1 (50 state survey).

       Numerous states (over 30) have adopted or cited with approval Restatement (Second) of

Torts: Who Can Recover for Public Nuisance § 821C (1979), which provides, in pertinent part:

“In order to recover damages in an individual action for a public nuisance, one must have

suffered harm of a kind different from that suffered by other members of the public exercising

the right common to the general public that was the subject of interference.” Other states reach

the same result in their common law without reference to the Restatement. See, e.g., Strickland

v. Lambert, 109 So.2d 664, 665 (Ala. 1959) (“An individual complaining of a public nuisance

must show some special injury to himself different from the common injury to the public.”

(quoting Scruggs v. Beason, 20 So.2d 774, 775 (Ala. 1945)). And other states have enacted

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statutes that provide private plaintiffs the right to pursue public nuisance claims if they can prove

a “special injury.” See, e.g., CAL. CIVIL CODE § 3493 (“A private person may maintain an action

for a public nuisance, if it is specially injurious to himself, but not otherwise”). Whatever the

precise formulation and source of law – whether through the adoption of the Restatement

§ 821C, application of common law principles, or by statute – every state provides that a private

party may sue under tort for public nuisance upon proof of a special, different in kind, injury

from that incurred by the general public.

       In this case, where the alleged nuisance consists of the creation of a massive public health

hazard, the hospitals have suffered an injury that is “different in kind” from the injury to the

community as a whole. In short, the hospitals have incurred specific financial costs treating

opioid-related conditions—costs they were obligated to incur as a matter of law—for which the

law of nuisance provides them a remedy.

       Actual pecuniary loss to a plaintiff’s business has long been recognized as precisely the

sort of particular damage that sets a plaintiff’s injuries apart from those of the public at large and

provides a basis for a plaintiff to recover from defendant for creating a public nuisance.

Restatement (Second) of Torts, §821C, comment h (1979), notes:

       Pecuniary loss to the plaintiff resulting from the public nuisance is normally a
       different kind of harm from that suffered by the general public. A contractor who
       loses the benefits of a particular contract or is put to an additional expense in
       performing it because of the obstruction of a public highway preventing him from
       transporting materials to the place of performance, can recover for the public
       nuisance. The same is true when it can be shown with reasonable certainty that an
       established business has lost profits, as when the obstruction of the highway
       prevents a common carrier from operating buses over it or access to the plaintiff’s
       place of business is made so inconvenient that customers do not come to it.

See also, e.g., Hampton v. North Carolina Pulp Co., 27 S.E.2d 538, 545-546 (N.C. 1943) (“The

personal right involved here is the security of an established business.”); Union Oil Co. v. Oppen,



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501 F.2d 558, 569 (9th Cir. 1974) (“The injury here asserted by the [commercial fisherman plaintiff

from pollution] is a pecuniary loss of a particular and special nature, limited to the class of

commercial fishermen which they represent.”); Carson v. Hercules Powder Co., 402 S.W.2d 640,

642 (Ark. 1966) (same).

       The simplified examples in the comments to Section 821C regarding obstruction of a

river or a highway are just that, simplified examples. However, the conclusion that a financial

injury to a business is different in kind from the injury to the public at large is intuitive and

makes sense. Where every member of the public at large may be generally inconvenienced by a

nuisance, it is wrong for a private individual (in this case, hospitals) to be required to bear

substantial pecuniary costs as a consequence. Though not every state court has been presented

facts on this precise issue, plaintiffs have identified more than 20 states that have permitted

nuisance, explicitly or implicitly recognizing financial injury to be “special” or “different in

kind,” thereby permitting plaintiffs to seek compensation. See Exhibit 1.

       In the same vein, courts have recognized that burdening a private plaintiff to assume

“cleanup costs” (especially where that cleanup duty is mandated by law) constitutes the sort of

“special injury” that permits a private plaintiff to sue for damages under a public nuisance

theory. In Westwood Pharmaceuticals, Inc. v. National Fuel Gas Distribution Corp., 737 F.

Supp. 1272 (W.D.N.Y. 1990), a private land owner sued the predecessor owner for public

nuisance (among other claims), arising from the defendant’s negligent storage of hazardous

waste which plaintiff was then required to clean up. Relying on Section 821C, the court

concluded that the plaintiff’s cleanup costs constituted a “special injury” that permitted plaintiff

to sue for public nuisance:

       With regard to the issue of whether Westwood has suffered harm ‘of a different
       kind from that suffered by other persons exercising the same public right,’ the court

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        finds that if Westwood can establish, as it claims, that it has incurred response costs
        consistent with the National Contingency Plan (“NCP”),…those costs will be
        sufficient to meet this criterion for bringing a public-nuisance action. See
        Restatement (Second) of Torts § 821C, comment h (1977).

Westwood Pharmaceuticals, Inc., 737 F. Supp. at 1281 (internal citations omitted). See also

Nashua Corp. v. Norton Co., No. 90-CV-1351 (RSP/RWS), 1997 WL 204904, at *4 (N.D.N.Y.

Apr. 15, 1997) (Plaintiff’s “response costs constitute special harm giving [plaintiff] standing to

assert a public nuisance claim.”); Chase Manhattan Bank, N.A. v. T & N PLC, 905 F. Supp. 107,

111, 126 (S.D.N.Y. 1995) (“costs of abatement and removal…represent special damages

different from the damages suffered by the general public.”); Akzo Coatings of Am., Inc. v. Am.

Renovating, 842 F. Supp. 267, 273 (E.D. Mich. 1993) (defendant liable to plaintiff under a

nuisance for plaintiff’s costs to abate nuisance); Malden v. Breslin, 609 N.E.2d 498, 501 (Mass.

App. Ct. 1993) (plaintiff entitled to fair and reasonable value of clean-up costs it sustained as a

result of public nuisance).1 The analogy is obvious: the defendants have created the opioid

nuisance, requiring the plaintiffs to expend their own monies to clean it up.

II.     Public Nuisance Laws Apply to Opioids.

        Defendants spend the bulk of their argument claiming that nuisance laws do not apply to

“products” generally. To the contrary, there is a long history of judicial and legislative

recognition that conduct associated with the manufacture and distribution of opium constitutes a

public health nuisance that can be appropriately addressed through nuisance laws. See, e.g.,



        1
          See also Bologna v. Kerr-McGee Corp., 95 F. Supp. 2d 197, 205 (S.D.N.Y. 2000)
(“Plaintiffs adequately have alleged a public nuisance claim. The complaint states that as a result
of the migration of hazardous substances into the land, air and groundwater around the site,
‘Plaintiffs suffer damages different in kind and degree from the general public in that the
creation and maintenance of the nuisance caused plaintiffs to incur and continue to incur
substantial costs for controlling, sampling, investigating and remediating the contamination
released on its site.’” (quoting Complaint)).


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United States. v. Sischo, 262 F. 1001, 1007-08 (W.D. Wash. 1919) (smuggled opium for

smoking is “nuisance per se”); People v. Kingston, 164 N.Y.S. 181, 182 (N.Y. App. Div. 1917)

(“If the defendant maintains premises for the sale and distribution of dangerous drugs [including

heroin], selling and distributing them to habitual users and others in violation of law… the

defendant may properly be convicted of maintain and committing a public nuisance.”); Nenny v

Seu Si Lun, 112 N.W. 220, 221 (Minn. 1907) (landlord-tenant action reciting that tenant had sold

opium on the premises and “maintained a nuisance thereon”); State v. Clancy, 168 P. 894, 895

(Wash. 1917) (quoting nuisance statute: “all opium dens or houses, or places of resort where

opium smoking is permitted, are nuisances”);2 State v. Van Osdol, 417 P.3d 488, 495 (Or. 2018)

(tracing Oregon’s modern drug nuisance statute to 1885 law which made it illegal for “any

person to frequent an opium den for the purpose of purchasing or smoking opium”). Indeed, the

language used by the courts to support the application of public nuisance to opium use a century

ago is hardly different than that used by plaintiffs in this case. In Sischo, 262 F. at 1008, the

court noted: “[S]moking opium is fitted by nature to harm the community.” Another case

summarized a local opium den ordinance as declaring that “smoking opium, was injurious to

public health, contrary to public morals, and against the peace and good order of the city….” In




       2
          That same language is still on the books. See WASH. REV. CODE ANN. § 7.48.240. A
Montana statute cited in a 1936 case provided that every building in which “any opium or coca
leaves, their salts, derivatives, and preparations thereof are sold or given away or used contrary
to the laws of the state of Montana, is a nuisance.” State ex rel. Nagle v. Naughton, 63 P.2d 123,
125 (Mont. 1936). A statute from Idaho in 1892 provided trustees of towns and villages the
power “[t]o pass by-laws and ordinances, to prevent and remove nuisances, to prevent and
restrain and suppress bawdy-houses, gambling-houses, opium dens, and other disorderly houses
within the limits of said town or village.” People ex rel. O’Neill v. Bancroft, 29 P. 112, 115
(Idaho 1892). See also, Eberhart v. Massell, 311 F. Supp. 654, 656 n.1 (N.D. Ga. 1970))
(quoting Atlanta ordinance that makes operating opium den a nuisance).


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re SIC, 14 P. 405, 406 (Cal. 1887).3

       Indeed, throughout the 50 states, conduct involving the maintenance of locations for the

manufacture and distribution of illegal drugs, or the illicit manufacture and distribution of lawful

drugs, has been routinely treated by common law or statute as a “public nuisance.”4 These laws

do not distinguish between “lawful” prescription opioids and the unlawful ones (such as heroin).

See, e.g., Freed v. State, No. 1013, 2017 WL 3262234 (Md. Ct. Spec. App. Aug. 1, 2017)

(defendant convicted of maintaining a common nuisance for selling oxycodone and other

controlled substance pills from his house); Ivester v. Johnson, No. 1:14-cv-00681-JMS-TAB,

2016 WL 3570725, at *1 (S.D. Ind. July 1, 2016) (defendant convicted of maintaining a common

nuisance for selling oxycodone and other controlled); Pearson v. State, No. 36A04-1211-CR-

610, 2013 WL 5303747 (Ind. Ct. App. Sept. 19, 2013) (common nuisance based in part on

numerous prescription drugs including hydromorphone); State v. Nemeth, No. A-1382-11T4,

2012 WL 5845588 (N.J. Super. Ct. App. Div. Nov. 20, 2012) (possession of oxycodone basis for

public nuisance count). The notion that the law of public nuisance does not reach the “product”

of drugs (and opioids) is simply wrong.5 Though this case does not involve the allegation that




       3
          See also, State v. Ah Sam, 13 P. 303, 304 (Or. 1887) (“The object of the enactment of
the statute in question [making it illegal to frequent an opium den] was to repress a most
dangerous and corrupting vice, -- one that strikes at the very foundations of both public health
and public morals.”).
       4
        See, e.g., CAL. HEALTH & SAFETY CODE § 11570. “Every building or place used for
purpose of unlawfully selling…any controlled substance…is a nuisance[.]”
       5
          And, in its day, conduct associated with the illegal manufacture and distribution of
alcohol (a “product”) was also routinely held to constitute the maintenance of a public nuisance.
See, e.g., State v. Rabinowitz, 118 P. 1040 (Kan. 1911) (selling and delivering of intoxicating
liquor on the streets of a municipality, publicly, repeatedly, and persistently, constitutes a
common nuisance); State v. Zimmerman, 148 N.E. 5, 6 (Ill. 1925) (“The General Assembly has
the power to declare that any place kept and maintained for the illegal manufacture and sale of
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the defendants owned or operated “drug dens,” the fact that the states have uniformly adopted

drug nuisance (and related forfeiture) laws speaks loudly to the widespread recognition of the

health hazards and harms to the community at large associated with drug use and addiction. In

short, there is a long history of judicial recognition of the public health vice of opioid use, and an

equally long history of the application of public nuisance laws to attack this vice.

       Defendants cite to State ex rel. Jennings v. Purdue Pharma L.P., No. N18C-01-223 MMJ

CCLD, 2019 WL 446382 (Del. Super. Ct. Feb. 4, 2019) for the court’s statement that “[t]here is

a clear national trend to limit public nuisance to land use.” First, Restatement § 821B(2)

provides that the crux of an inquiry into public nuisance is the conduct of the defendants, that is:

“(a) Whether the conduct involves a significant interference with the public health …;

(b) whether the conduct is proscribed by a statute, ordinance or administrative regulation, or

(c) whether the conduct is of a continuing nature.….” (emphasis supplied). The comments to

§ 821B leave no ambiguity: “[A] public nuisance does not necessarily involve interference with

use and enjoyment of land.” § 821B, cmt. h. Second, as described above, courts for more than a

hundred years have used nuisance rationales and nuisance language in describing the public

health consequences of opioids. Third, this contention that public nuisance counts are tethered to

the land was squarely rejected by the trial court in New Hampshire handling a similar opioid

case, holding that the essence of a nuisance claim involves “behavior” and that the defendant’s

claim that “the origin of a public nuisance must arise from the use of real property, is a too

narrow reading of the law.” State v. Purdue Pharma Inc., No. 217-2017-CV-00402, 2018 WL




intoxicating liquors shall be deemed a common nuisance.…”); State v. Ohman, 179 N.W. 143
(Iowa 1920) (nuisance based upon manufacture of liquor).


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4566129, at *13 (N.H. Super. Ct. Sept. 18, 2018).6

         The defendants place extensive reliance on cases where courts have rejected nuisance

suits involving lead paint or hand guns. Even if those cases reflect some states’ limiting the

reach of nuisance laws for certain products,7 these cases say nothing about the application of

nuisance laws to drugs (products) in general, and opioids in particular, that have historically been

the subject of nuisance laws and which have historically been recognized as posing public health

and public safety hazards.

III.     Because of the Tight Causal Relationship Between the Public Nuisance and the
         Damages, the Hospitals’ Public Nuisance Claims in This Case Are Distinguishable
         From the Hospitals’ Nuisance Claims in the Tobacco Cases.

         Defendants generally allege that the conduct of the many actors involved in opioid

distribution and use defeats proximate cause. Defendants cite to two tobacco cases as part of

their proximate cause argument. Defs.’ Br. at 4 n. 1. In Ass’n of Wash. Pub. Hosp. Dist. v.

Philip Morris, Inc., 241 F.3d 696 (9th Cir. 2001), the Ninth Circuit affirmed the trial court’s

dismissal of the Hospital Districts’ common law (including nuisance) claims on the grounds that

the tobacco firms’ unlawful conduct was not the proximate cause of the hospitals’ injuries. Id. at

700. In Allegheny Gen. Hosp. v. Philip Morris, Inc., 228 F.3d 429 (3rd Cir. 2000), the Third


         6
          See also, Philadelphia Elec. Co. v. Hercules, Inc., 762 F.2d 303, 315 (3rd Cir. 1985)
(“An action for public nuisance may lie even though neither the plaintiff nor the defendant acts
in the exercise of private property rights.” (footnote omitted)).
         7
          And they are not so one-sided as defendants suggest. See People v. ConAgra Grocery
Products Co., 227 Cal. Rptr. 3d 499, 532 (Cal. Ct. App. 2017) (affirming nuisance verdict
against lead paint manufacturers); Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136 (Ohio
2002) (permitting nuisance case against gun manufacturer). Though nuisance cases against gun
manufacturers were “overruled” by statute, the public nuisance principles of Cincinnati v.
Beretta remain sound and would apply to opioids: “[W]e find that under the Restatement's broad
definition, a public-nuisance action can be maintained for injuries caused by a product if the facts
establish that the design, manufacturing, marketing, or sale of the product unreasonably
interferes with a right common to the general public.” 768 N.E.2d at 1142.

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Circuit affirmed the trial court’s dismissal of the hospitals’ complaint against the cigarette

companies. The court reasoned that the hospitals’ injuries were “derivative” of the claims of the

non-paying patients’.8 These cases are easily distinguishable.

        First and foremost, the difference between opioids and tobacco could not be more stark.

Cigarette smokers do not show up at the hospital emergency rooms feigning symptoms to seek

cigarettes. They do not transition from Camels to needle-based injections of nicotine to get their

nicotine fix and get needle-related diseases. They are not taken to hospitals unconscious or in a

coma from smoking too many Marlboros, and do not give birth to babies addicted to tobacco

needing a million dollars of treatment in hospital NICUs.9 Moreover, though there are a variety

of long-term health consequences known to be associated with a lifetime of smoking (say cancer

or lung disease), these are far different than opioid-related conditions, which are lethally

dangerous and predictably send users to emergency rooms within time-frames that coincide with

their addictive behavior – not many decades later.



        8
         The entire discussion on this issue was two paragraphs. The first paragraph set forth
general principles of nuisance law and the second stated, in full:

                The District Court found that the Hospitals did not sufficiently allege that
        they suffered a harm different from and of greater magnitude than the harm suffered
        by the general public. We agree. The Hospitals’ injuries are derivative of the
        nonpaying patients' injuries, and the Hospitals are one of numerous parties in the
        public harmed by the alleged conspiracy. In these circumstances, remedying the
        source of the conspiracy is more properly a task for public officials. The District
        Court correctly dismissed the public nuisance claim.

Id. at 446.
        9
         Although the record in the tobacco case is not clear from the opinions, it is reasonable to
conclude that the false marketing scheme alleged by the plaintiff hospitals in the instant case is
far more directly linked with the opioid epidemic that the false advertising of the tobacco
companies. After all, tobacco had been a widely accepted product, available to any adult. Here,
the defendants’ advertising was directed at prescribers; the users by and large had no choice
other than to take the drugs prescribed to them.
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       And, as to the contention that the hospitals’ financial losses are simply “derivative” of

the patients’ – whatever that really means – we stress that persons addicted to prescription

opioids, as a rule, are more likely to be found in rural or financially depressed areas, and are

unlikely to have financial resources sufficient to pay hospital bills because of unemployment

resulting from disabling pain, unemployment resulting from addiction behaviors, poverty

resulting from spending cash on opioids, or a host of other reasons that are intertwined with their

opioid use. That is an entirely different financial and geographic demographic group than, say,

“tobacco smokers,” which can include countless working persons with health insurance or other

financial resources, and who are unlikely to have been bankrupted (and unable to pay hospital

bills) as a result of using tobacco. Further, hospitals have some discretion on admitting some

patients in some circumstances. They have virtually no discretion to refuse to treat those

showing up at the emergency room. The requirement that hospitals treat opioid-related

conditions imposes an unavoidable financial burden of a nature and degree different than having

them absorb costs of treating patients who cannot pay for smoking-related health problems.

       Though the court in Ass’n of Wash. Pub. Hosp. Dist. did not squarely address the issue of

a superseding intervening cause, that issue lies just below the surface of its finding on causation

and we address that here. In this regard, “the policy of the law on questions of intervening and

superseding cause has evolved to the rule that the original actor is relieved from liability for the

final result when, and only when, an intervening act of another was unforeseeable by a

reasonable person in the position of the original actor and when, looking backward, after the

event, the intervening act appears extraordinary.” Ontiveros v. Borak, 667 P.2d 200, 206 (Ariz.

1983) (dramshop liability for seller of intoxicating beverages). Simply put, there are no

“extraordinary” intervening acts in this case. It is simply not possible to create a population of



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opioid addicts without, at the same time, creating a population who will demand and be provided

unreimbursed and under-reimbursed services from the hospitals. There is nothing about addicts

seeking hospital treatment for opioid-related conditions care that, “when looking backward …

appears extraordinary” or is not “normal consequence” of the Defendants’ acts. In short, there

are no legal superseding intervening causes that relieve Defendants from liability.10

       In any event, the issues of proximate cause, intervening cause and superseding cause are

classic jury issues for which there are standard federal pattern jury instructions.11 Though

drafted for a negligence case, the federal pattern instruction for “intervening cause” sets forth

principles that apply in any case where issues of causation are to be decided. As modified for a

nuisance claim, the instruction reads: “If you find defendants [created a nuisance] but plaintiffs’

injuries were caused by the acts of third persons, defendants may be liable for such injuries, if

you further find that a reasonably prudent person, situated as defendant was before the happening




       10
           See Restatement (Second) of Torts: Normal Intervening Force § 443 (1979): “The
intervention of a force which is a normal consequence of a situation created by the actor's
negligent conduct is not a superseding cause of harm which such conduct has been a substantial
factor in bringing about.”
       11
           See, e.g., Town of Superior, Mont. v. Asarco, Inc., 874 F.Supp.2d 937, 950 (D. Mont.
2004) (denial of summary judgement in pollution nuisance case: “Whether [Defendant] knew
Plaintiffs were using the tailings, whether it was reasonably foreseeable that Plaintiffs would use
the tailings, and whether [Defendant] knew the tailings were contaminated and posed health
threats to Plaintiffs’ citizens are all genuine issues of material facts that are disputed by the
parties.”); Ohio Fair Plan Underwriting Assn. v. Arcara, 417 N.E.2d 115 (Oh. Ct. App. 1979)
(issue of whether arson of dilapidated building constituted an intervening cause a fact question
for the jury); Haynes v. Hamilton County, 883 S.W.2d 606, 612 (Tenn. 1994) (“Proximate cause,
as well as superseding intervening cause, are ordinarily jury questions….”); Villines v. North
Arkansas Regional Medical Center, 385 S.W.3d 360, 365 (Ark. Ct. App. 2011) (“Intervening
cause is also a factual question for the jury.” (citations omitted)); Scott v. MD Helicopters, Inc.,
834 F.Supp.2d 1334, 1339 (M.D. Fla. 2011) (suit against helicopter manufacturer: “The Court
finds that whether the improper maintenance performed on N468WE constituted a foreseeable
intervening cause that would cut off any potential liability is a question for the jury.”).

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of the incident, would have foreseen an act of the kind committed by the third person was a

probable consequence of defendant’s [nuisance].” O’Malley, et al., 3 Fed. Jury Prac. & Inst.

§ 120:62 (6th Ed.). When a series of dominos are closely arrayed, such that pushing over the

first necessarily pushes over the last, it is no defense that there were intervening dominos in the

middle. Through the false marketing scheme and the other conduct alleged in the Complaint, the

defendant pushed over that first domino, and every domino fell, as the defendants foresaw and

intended, sending opioid addicts to the hospitals’ emergency room doors. The issue of causation

is squarely a jury issue.

        There is simply no basis to apply the Ninth Circuit’s interpretation of Washington state

law on proximate cause (in connection with tobacco advertising) to the facts of this case. Here,

opioid manufacturers and distributors willfully created a public nuisance in the nature of

widespread use of opioids, resulting in foreseeable and direct financial injuries to the plaintiff

hospitals.

                                          CONCLUSION

        WHEREFORE, we request the Court find that the Plaintiff Hospitals have properly

alleged a public nuisance claim.

Dated: April 5, 2019                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2019, a copy of the foregoing document was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. All other parties will be served by

regular U.S. mail. Parties may access this filing through the Court’s system.


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